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     Attorney for Defendant
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     YGNACIA BRADFORD
6

7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
                                            SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                        ) Case No. CR S 10-0223-JAM
12                                                    )
                                   Plaintiff,         )
13                                                    ) STIPULATION AND ORDER TO
            vs.                                       ) MODIFY CONDITION OF PRE-TRIAL
14                                                    ) RELEASE
                                                      )
15                                                    )
     YGNACIA BRADFORD,                                )
16                                                    )
                                   Defendants.        )
17                                                    )
18

19           IT IS HEREBY STIPULATED by and between the parties, the UNITED STATES
20   OF AMERICA, through undersigned counsel, Phillip A. Ferrari, Assistant United States
21   Attorney, and Joseph J. Wiseman, attorney for Ygnacia Bradford, with the
22   recommendation and approval of the Pre-Trial Officer, that that the conditions of
23   Ygnacia Bradford’s pre-trial release be modified so as to discontinue the condition that
24   she participate in a program of medical or psychiatric treatment, including treatment for
25   drug or alcohol dependency, as approved by Pretrial Services.
26   Dated: September 27, 2012                        Respectfully submitted,
27                                                    By: /s/ Joseph J. Wiseman
28
                                                      JOSEPH J. WISEMAN
                                                      Attorney for Defendant
                                                      YGNACIA BRADFORD


     Stipulation and (Proposed Order) for to Modify     1                   Case No. CR.10-0223 JAM
     Conditions of Pre-Trial Release
       Case 2:10-cr-00223-JAM Document 241 Filed 09/28/12 Page 2 of 3


1    Dated: September 27, 2012
                                                      By: /s/ Phillip A. Ferrari
2
                                                      PHILLIP A. FERRARI
3                                                     First Assistant U.S. Attorney
                                                      Attorney for the United States
4
                                                      BENJAMIN B. WAGNER
5
                                                      United States Attorney
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     Stipulation and (Proposed Order) for to Modify     2                    Case No. CR.10-0223 JAM
     Conditions of Pre-Trial Release
       Case 2:10-cr-00223-JAM Document 241 Filed 09/28/12 Page 3 of 3


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     YGNACIA BRADFORD
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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11

12
     UNITED STATES OF AMERICA,                         ) Case No. CR S 10-0223-JAM
                                                       )
13
                                   Plaintiff,          )
                                                       ) STIPULATION AND ORDER TO
14
            vs.                                        ) MODIFY CONDITION OF PRE-TRIAL
                                                       ) RELEASE
15
                                                       )
                                                       )
16
     YGNACIA BRADFORD,                                 )
                                                       )
17
                                   Defendants.         )
                                                       )
18

19                                                    ORDER
20           GOOD CAUSE APPEARING, it is hereby ordered that the Special Conditions of
21   Pre-Trial Release be modified as follows:
22           Condition 12 requiring defendant to participate in a program of medical or
23   psychiatric treatment, including treatment for drug or alcohol dependency is
24   discontinued. All other conditions of pre-trial release remain in force.
25

26   IT IS SO ORDERED.
27
     Dated: 9/28/2012                                       /s/ John A. Mendez__________
28
                                                            HON. JOHN A. MENDEZ
                                                            United States District Court Judge


     Stipulation and (Proposed Order) for to Modify     3                   Case No. CR.10-0223 JAM
     Conditions of Pre-Trial Release
